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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
GERARDO MIGUEL BAEZ DURAN
AND WILSON FRANCISCO SANCHEZ
CRUZ, individually and on behalf of others
similarly situated,

                                   Plaintiffs,                              22 CIVIL 4087 (JLC)

                 -against-                                                     JUDGMENT
E L G PARKING INC. (D/B/A E L G
PARKING INC.), and BISHOP JOSEPH
ALEXANDER,

                                    Defendants.
--------------------------------------------------------------X


        WHEREAS, Plaintiffs and Defendants E L G PARKING INC. (D/B/A E L G
PARKING INC.), and BISHOP JOSEPH ALEXANDER (“Defendants”) entered into a
settlement agreement in this action, which was approved by this Court on March 14, 2023;

        WHEREAS, Defendants have defaulted in making the settlement payments to
Plaintiffs as provided for in the settlement agreement;

        WHEREAS, this matter came before the Court for an entry of Judgment in favor of
Plaintiffs and against Defendants, pursuant to the settlement agreement;

        NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED
that Judgment is hereby entered in favor of Plaintiffs GERARDO MIGUEL BAEZ DURAN
(aka RAFFY) and WILSON FRANCISCO SANCHEZ CRUZ and against Defendants E L G
PARKING INC. (D/B/A E L G PARKING INC.), and BISHOP JOSEPH ALEXANDER,
jointly and severally, in the sum of One Hundred Twenty Thousand Dollars and Zero Cents
($120,000.00) and that Plaintiffs shall have execution thereof.

Dated: New York, New York

          July 25, 2023
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                                             RUBY J. KRAJICK

                                         _________________________
                                                 Clerk of Court



                                   BY:
                                         _________________________
                                                  Deputy Clerk
